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                        UNITED STATES DISTRICT COURT
                       CENTRAL DISTRICT OF CALIFORNIA

                                   CIVIL MINUTES – GENERAL

 Case No. 8:20-cv-01610-JLS-DFM                                      Date: December 28, 2020
 Title: Chris Langer v. Cash Plus, Inc. et al

 Present: HONORABLE JOSEPHINE L. STATON, UNITED STATES DISTRICT JUDGE

          Melissa Kunig                                                N/A
           Deputy Clerk                                           Court Reporter

 ATTORNEYS PRESENT FOR PLAINTIFF:               ATTORNEYS PRESENT FOR DEFENDANT:

           Not Present                                            Not Present

 PROCEEDINGS: (IN CHAMBERS) ORDER DECLINING SUPPLEMENTAL
              JURISDICTION AND DISMISSING STATE-LAW CLAIM
              WITHOUT PREJUDICE

        The Complaint filed in this action asserts a claim for injunctive relief arising out of
 an alleged violation of the federal Americans with Disabilities Act (“ADA”) and a claim
 for damages pursuant to California’s Unruh Act. On September 8, 2020, the Court
 ordered Plaintiff to show cause why the Court should not decline to exercise
 supplemental jurisdiction over Plaintiff’s Unruh Act claim. (OSC, Doc. 10.) Plaintiff
 timely responded. (Response, Doc. 11.) Having considered Plaintiff’s response, the
 Court finds exercise of supplemental jurisdiction is not warranted under the
 circumstances. Accordingly, Plaintiff’s Unruh Act claim is DISMISSED WITHOUT
 PREJUDICE to filing in state court.

     I.       Legal Standard

        In an action over which a district court possesses original jurisdiction, that court
 “shall have supplemental jurisdiction over all other claims that are so related to claims in
 the action within such original jurisdiction that they form part of the same case or
 controversy under Article III of the United States Constitution.” 28 U.S.C. § 1367(a).
 Even if supplemental jurisdiction exists, district courts have discretion to decline to
 exercise supplemental jurisdiction:

           The district courts may decline to exercise supplemental jurisdiction over a
           claim under subsection (a) if—
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         (1) the claim raises a novel or complex issue of State law,

         (2) the claim substantially predominates over the claim or claims over which
         the district court has original jurisdiction,

         (3) the district court has dismissed all claims over which it has original
         jurisdiction, or

         (4) in exceptional circumstances, there are other compelling reasons for
         declining jurisdiction.

 28 U.S.C. § 1367(c). The Supreme Court has described 28 U.S.C. § 1367(c) as a
 “codification” of the principles of “‘economy, convenience, fairness, and comity’” that
 underlie the Supreme Court’s earlier jurisprudence concerning pendent jurisdiction. City
 of Chicago v. Int’l Coll. of Surgeons, 522 U.S. 156, 172-73 (1997) (quoting Carnegie-
 Mellon Univ. v. Cohill, 484 U.S. 343, 357 (1988)); see also United Mine Workers v.
 Gibbs, 383 U.S. 715, 726 (1966) (“It has consistently been recognized that pendent
 jurisdiction is a doctrine of discretion, not of plaintiff’s right. Its justification lies in
 considerations of judicial economy, convenience and fairness to litigants; if these are not
 present a federal court should hesitate to exercise jurisdiction over state claims, even
 though bound to apply state law to them. Needless decisions of state law should be
 avoided both as a matter of comity and to promote justice between the parties, by
 procuring for them a surer-footed reading of applicable law.”).
         District courts may decline to exercise jurisdiction over supplemental state law
 claims “[d]epending on a host of factors” including “the circumstances of the particular
 case, the nature of the state law claims, the character of the governing state law, and the
 relationship between the state and federal claims.” City of Chicago, 522 U.S. at 173.
 The supplemental jurisdiction statute “reflects the understanding that, when deciding
 whether to exercise supplemental jurisdiction, ‘a federal court should consider and weigh
 in each case, and at every stage of the litigation, the values of judicial economy,
 convenience, fairness, and comity.’” Id. (quoting Cohill, 484 U.S. at 350).

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        The Ninth Circuit does not require an “explanation for a district court’s reasons
 [for declining supplemental jurisdiction] when the district court acts under” 28 U.S.C. §§
 1367(c)(1)-(3), San Pedro Hotel Co. v. City of Los Angeles, 159 F.3d 470, 478 (9th Cir.
 1998), but does require a district court to “articulate why the circumstances of the case
 are exceptional in addition to inquiring whether the balance of the Gibbs values provide
 compelling reasons for declining jurisdiction in such circumstances.” Executive Software
 N. Am. Inc. v. U.S. Dist. Court for the Cent. Dist. of Cal., 24 F.3d 1545, 1558 (9th Cir.
 1994). According to the Ninth Circuit, this “inquiry is not particularly burdensome.” Id.
 When declining to exercise supplemental jurisdiction under 28 U.S.C. § 1367(c)(4), “the
 court must identify the predicate that triggers the applicability of the category (the
 exceptional circumstances), and then determine whether, in its judgment, the underlying
 Gibbs values are best served by declining jurisdiction in the particular case (the
 compelling reasons).” Id.

     II.     Discussion

         As the Court indicated in its prior Order, “[b]y enacting restrictions on the filing of
 construction-related accessibility claims, California has expressed a desire to limit the
 financial burdens California’s businesses may face for claims for statutory damages
 under the Unruh Act. Plaintiffs who file these actions in federal court evade these limits
 and pursue state law damages in a manner inconsistent with the state law’s
 requirements.” (OSC at 2.) It is not, under the Gibbs factors, “fair” to defendants that
 plaintiffs may pursue construction-related accessibility claims in this Court while evading
 the limitations California state law has imposed on such claims. In addition, to allow
 federal courts to become an escape hatch allowing plaintiffs to pursue such claims is also
 an affront to the comity between federal and state courts. Garibay v. Rodriguez, No.
 2:18-CV-09187-PA-AFM, 2019 WL 5204294, at *5 (C.D. Cal. August 27, 2019).
         Moreover, such evasion places tremendous strain on the federal courts. The
 number of construction-related accessibility claims filed in the Central District has
 skyrocketed both numerically and as a percentage of total civil filings since California
 began its efforts to curtail the filing of such actions. According to statistics compiled by
 the Clerk’s Office, in 2013, the first year in which California’s initial limitations on such

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 cases were in effect, there were 419 ADA cases filed in the Central District, which
 constituted 3% of the civil actions filed. Filings of such cases increased from 928 (7% of
 civil cases) in 2014, the year before the imposition of the additional $1,000 filing fee and
 additional pleading requirements for high-frequency litigants, to 1,386 (10% of civil
 cases) in 2016, the first full year of those requirements. The number and percentage of
 such cases filed in the Central District has increased in each year since California acted to
 limit the filings by high-frequency litigants, reaching 1,670 (12% of civil cases) in 2017,
 1,670 (18% of civil cases) in 2018, and 1,868 cases (24% of civil cases) in the first six
 months of 2019. The coincidence of astronomical growth in the filing of these cases in
 federal court with California’s limitations on construction-related accessibility claims
 suggests that it is precisely because the federal courts have not adopted California’s
 limitations on such claims that federal courts have become the preferred forum for them,
 and that coincidence also belies Plaintiff’s alternative rationales for filing Unruh Act
 claims in federal court. See Garibay, 2019 WL 5204294, at *4 (“Indeed, those reasons, if
 true at all, do not explain why nearly 9 times more construction-related accessibility
 actions are being filed in the Central District in 2019 than were filed in 2013.”).
         Accordingly, the Court concludes that California’s enactment of laws restricting
 construction-related accessibility claims, combined with the burden the ever-increasing
 number of such cases poses to the federal courts, presents “exceptional circumstances”
 and “compelling reasons” that justify the Court’s discretion to decline to exercise
 supplemental jurisdiction over Plaintiff’s Unruh Act claim under 28 U.S.C. § 1367(c)(4).
 See Shutza v. Cuddeback, 262 F. Supp. 3d 1025, 1031 (S.D. Cal. 2017) (relying on
 Hanna v. Plummer, 380 U.S. 460, 467-68 (1965), for the proposition that federal courts
 are permitted to decline supplemental jurisdiction to discourage improper forum-
 shopping, such as ADA plaintiffs “use [of] federal court as an end-around to California’s
 pleading requirements”). Moreover, the Court sees no prejudice in requiring Plaintiff’s
 state-law claim be heard in state Court. See Garibay, 2019 WL 5204294, at *6
 (“[D]eclin[ing] supplemental jurisdiction does not deprive plaintiff of any remedies. Nor
 does it allow an ADA claim for injunctive relief to go unaddressed.”). As stated in
 Garibay, “if Plaintiff legitimately seeks to litigate this action in a single forum, Plaintiff
 may dismiss this action and refile it in state court in accordance with the requirements
 California has imposed on such actions.” Id.

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     III.    Conclusion

         For the foregoing reasons, the Court declines to exercise supplemental jurisdiction
 over Plaintiff’s Unruh Act claim, and the claim is DISMISSED WITHOUT PREJUDICE
 to filing in state court.


                                                             Initials of Deputy Clerk: mku




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